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     5
                                    IN THE UNITED STATES DISTRICT COURT
     6
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
     7

     8 UNITED STATES OF AMERICA,                       )       No. CR 06-00054 RMW RS
                                                       )
     9                 Plaintiff,                      )       ORDER
                                                       )       PERMITTING TRAVEL
 10 vs.                                                )
                                                       )
 11 MATTHEW THOMPSON,                                  )
                                                       )
 12                    Defendant.                      )
                                                       )
 13

 14
                GOOD CAUSE BEING SHOWN, the bond in the above case is modified to permit
 15
         Matthew Thompson to travel from Lubbock, Texas to Denver, Colorado from April 21, 2006
 16
         through through April 23, 2006.
 17
                All other conditions of release remain in full force and effect.
 18
                IT IS SO ORDERED.
 19
         DATED: 4/17/06                               /s/ Patricia V. Trumbull
 20
                                                        _____________________________________
 21                                                     United States Magistrate Judge
 22

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 24

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26
          [PROPOSED] ORDER
          PERMITTING TRAVEL                                1
